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4    Attorney for Defendant
     Michael Staggs
5
                          UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA          )
                                       )         No. Cr.S- CRS 02-287 FCD
9                     Plaintiff        )
                                       )         STIPULATION CONTINUING
10              vs.                    )         SENTENCING
                                       )
11                                     )         ORDER
     MICHAEL STAGGS                    )
                                       )         Date: February 21, 2006
12                                     )         Time: 9:30 AM
                      Defendant        )         Court: FCD
13                                     )
14

15        This matter is a remand from the Ninth Circuit Court of

16   Appeals and is presently scheduled for sentencing on January 9,

17   2005. The parties, through their respective counsel, stipulate

18   to the continuance of the sentencing to February 21, 2006 at

19   9:30 AM.

20        Assistant United States Attorney Christine Watson agrees
21   with this request and has authorized the undersigned to submit
22
     her signature.
23

24

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1         IT IS SO STIPULATED
2

3
          DATED: January 5, 2006              /S/ Michael B. Bigelow
4
                                              Michael B. Bigelow
                                              Attorney for Defendant
5

6

7
          Dated: January 5, 2006              /S/ Christine Watson
8                                             Christine, AUSA

9

10
                                       ORDER
11
          Upon stipulation of both parties, and for good cause shown,
12
     sentencing in this case is continued to February 21, 2006 at
13
     9:30 a.m. This continuance is appropriate in order to maintain
14
     continuity of counsel.
15

16
          IT IS SO ORDERED
17

18        Dated: January 6, 2006              /s/ Frank C. Damrell Jr.
                                              Hon. Frank C. Damrell, Jr.
19                                            District Court Judge

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